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 1    JONATHAN SELBIN (Cal. Bar No. 170222)
      jselbin@lchb.com
 2    MICHELLE LAMY (Cal. Bar No. 308174)
      mlamy@lchb.com
 3    LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
      275 Battery Street, 29th Floor
 4    San Francisco, CA 94111
      Telephone: (415) 956-1000
 5    Facsimile: (415) 956-1008

 6    ELIZABETH A. FEGAN (Cal. Bar No. 355906)
      beth@feganscott.com
 7    FEGAN SCOTT LLC
      150 S. Wacker Drive, 24th Floor
 8    Chicago, IL 60606
      Telephone: (312) 741-1019
 9    Facsimile: (312) 264-0100

10    Attorneys for Plaintiffs and the Proposed Class
      (Additional Counsel on Signature Page)
11

12                                 UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14                                     SAN FRANCISCO DIVISION

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      JOHN DOE 4, JOHN DOE 5, JOHN DOE 6,
17    JOHN DOE 7, JOHN DOE 8, JOHN DOE 9,                   PLAINTIFFS’ REPLY IN SUPPORT
      JOHN DOE 10, JOHN DOE 11, JOHN DOE                    OF MOTION FOR CLASS
18    12, JOHN DOE 13, and JOHN DOE 14                      CERTIFICATION
      individually and on behalf of all others similarly
19    situated,                                             Hearing: February 27, 2025
                                                            Time: 9:30 a.m.
20                       Plaintiffs,                        Courtroom: B

21    v.                                                    Judge: Hon. Laurel Beeler
                                                            Trial Date: None Set
22    THE UNIVERSITY OF SAN FRANCISCO,
      ANTHONY N. (AKA NINO) GIARRATANO,
23    and TROY NAKAMURA,

24                       Defendant.

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                                                                   PLAINTIFFS’ REPLY ISO CLASS CERTIFICATION
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 1    of how Rule 23(c)(4) issue certification operates. Plaintiffs already made clear—but reiterate again

 2    now—that individualized damages (or lack thereof) can and should be addressed on an individual

 3    basis for each class member, after common liability issues are resolved. In endorsing this

 4    bifurcation of common liability issues and individual damages, the Ninth Circuit affirmed that “no

 5    matter how individualized the issue of damages may be . . . it would drive a stake through the heart

 6    of the class action device to require that every member of the class have identical damages.”

 7    Jimenez v. Allstate Ins. Co., 765 F.3d 1161, 1167-68 (9th Cir. 2014) (cleaned up).10 And key

 8    discovery—produced only after Plaintiffs moved for class certification and after the Court set a

 9    deadline for the parties to confer regarding extensions to the briefing schedule—has only confirmed

10    that common evidence will prove (or disprove) the common liability issues identified in Plaintiffs’

11    motion. This discovery included previously unknown incidents of sexual misconduct as well as

12    widespread recognition—both internally at USF and by outside investigators hired by USF—of the

13    widespread and longstanding structural failures at USF that permitted the Coach Defendants’

14    rampant sexual misconduct to go unchecked for decades.11

15                Curiously, USF opens its opposition by noting that other university cases involving sexual

16    misconduct (neither cited in Plaintiffs’ motion) “did not receive class certification until after

17    settlement, when defendants supported certification of a settlement class.”12 True: when confronted

18    with the horrifying reality that students had been harmed on their watch, other universities opted to

19    work cooperatively to provide some measure of recompense and reform their policies and practices.

20    USF, by contrast, has rejected all attempts by Plaintiffs to even engage in such discussions and

21    opted instead to call the thirteen players spanning twenty years who bravely came forward (and

22    their counsel) liars and frauds.

23                At bottom, the Court’s job on class certification is “to select the method best suited to

24    adjudication of the controversy fairly and efficiently.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds,

25    568 U.S. 455, 460 (2013) (cleaned up); see also Fed. R. Civ. P. 1 (Rules are to “be construed,

26    administered, and employed by the court and the parties to secure the just, speedy, and inexpensive

27    10
         Quoting Butler v. Sears, Roebuck and Co. (“Butler II”), 727 F.3d 796, 801-02 (7th Cir. 2013).
      11
28       See infra § II (detailing recently produced evidence).
      12
         USF Opp’n at 11.
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 1    determination of every action and proceeding”). Plaintiffs respectfully submit that Rule 23(c)(4)

 2    certification is the fairest and most efficient way to move this case forward to resolution.

 3    II.         CLASS EVIDENCE

 4                Contrary to USF’s contention, class discovery has not “been ongoing for more than a

 5    year.”13 Though the case was filed in 2022, USF’s document productions did not begin until April

 6    29, 2024 and were slow thereafter.14 USF is still producing documents Plaintiffs identified (back

 7    on September 19, 2024) as key class discovery.15 USF admits that its most recent production on

 8    January 28, 2025—nine days ago—was of documents “prioritized for class certification” last fall.16

 9    And despite committing to make rolling productions of class discovery every two weeks, this was

10    the first custodial production USF has made in two and a half months.17 Giarratano did not even

11    begin production of ESI until February 3, 2025—three days ago. Nakamura, to his credit, has taken

12    his discovery obligations more seriously than either USF or Giarratano.18

13                Nevertheless, Plaintiffs remain “eager to move for class certification.”19 There is already

14    sufficient evidence reflecting a decades-long pattern of abuse by the Coaches, as well as USF’s

15    uniform failure to act either to prevent it or respond to it. However, because USF repeatedly asserts

16    that Plaintiffs have “no evidence” regarding the common issues they seek to certify,20 Plaintiffs

17    include here some of the additional class discovery USF is only now producing. To be clear:

18    Plaintiffs cite only documents and testimony produced after Plaintiffs moved for class certification

19    and after the Court’s deadline for the parties to confer on the briefing schedule.21 The vast majority
      13
20       USF Opp’n at 11.
      14
         See ECF Nos. 209, 228, 236 (detailing USF’s discovery delays).
21    15
         See ECF No. 236 at 4-5 (detailing requested key class discovery).
      16
22       MvK Decl. ¶ 6.
      17
         Id. ¶ 7. Inexplicably, USF also failed to collect and produce text messages from any custodians
23    despite this being a critical source of relevant information and agreeing to do so in its arbitration
      against Giarratano. Id. ¶ 8. Plaintiffs flagged this issue for USF last summer but USF has repeatedly
24    refused to engage and motion practice is likely necessary. Id.
      18
         Id. ¶¶ 9-10. USF’s and Giarratano’s conduct stands in stark contrast to Plaintiffs’ conduct. Indeed,
25    they were able to cherry-pick text messages for irrelevant “gotcha” soundbites in their oppositions
      precisely because Plaintiffs produced all of their ESI more than six months ago. Id. ¶ 11.
26    19
         ECF No. 236 at 2.
      20
27       USF Opp’n at 17, 22.
      21
         This reply does not include anything from the large production of documents “prioritized for
28    class certification” that USF produced only days go, or any of Giarratano’s ESI produced only days
      ago, which Plaintiffs of course could not review in time to incorporate. MvK Decl. ¶¶ 6, 9.
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 1    of this new, damning evidence comes from arbitration materials USF attempted to withhold,

 2    necessitating a Court order compelling their production.22 This discovery confirms the propriety of

 3    issue certification here. Plaintiffs—and the Court—have every reason to believe more is coming.

 4                A.     USF Lacks a Functioning Title IX Process.

 5                Since Plaintiffs’ motion was filed, USF and third parties produced critical documents—

 6    including the findings of an internal investigation of USF’s athletics department—that reflect

 7    longstanding, structural failings with USF’s Title IX process. None of these documents were

 8    available to Plaintiffs’ expert Robert Boland when he submitted his original report.23 Based on his

 9    review of documents produced since that report, Boland submits here a supplemental expert report

10    regarding these systemic failures. Boland—who served as Athletics Integrity Officer at Penn State

11    in the wake of the Jerry Sandusky scandal—concludes: “New evidence demonstrates that not only

12    were USF’s policies and trainings inadequate, but the entire structure of its Athletic Department

13    and administration all but ensured that misconduct was not identified, reported, or prevented. This

14    further compounded the culture of abuse.”24

15                Boland is not alone in reaching this conclusion. In the wake of this lawsuit, USF hired a

16    team of outside investigators to assess its athletics department. USF retained Mitchell Malachowski

17    (Faculty Athletic Representative, University of San Diego), Ellen Ferris (Senior Associate

18    Commissioner, American Athletic Conference), and Bruce Rasmussen (Former Athletic Director,

19    Creighton University) to conduct the investigation. In August 2023, this team concluded: “The USF

20    Athletics department is significantly understaffed, and this was likely a contributing factor in the

21    failure to detect, address or prevent” abuse. They noted that USF lacks “[s]ufficient checks and

22    balances in the departmental structure and staffing [that] should be in place to ensure issues are

23    identified and addressed before becoming a systemic problem,” which together with “conflicts of

24    interest” in the department “permitted undesired behavior to continue undetected or unchecked.”25

25
      22
         MvK Decl. ¶ 13. Though the Court ordered their production on November 25, 2024, and the
26    documents should have been readily accessible, USF and Giarratano failed to produce any
      arbitration documents for weeks, and USF did not complete production until January 28, 2025. Id.
27    23
         Id. ¶ 14.
      24
28       Selbin Decl., Ex. 20 (Boland Suppl. Rep.) ¶ 9.
      25
         Id., Ex. 2 at USF_0115359.
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 1    Jimenez, 765 F.3d at 1168; Levya v. Medline Indus., Inc., 716 F.3d 510, 515 (9th Cir. 2013)).

 2                A.     Plaintiffs’ Proposed Class Is Valid
 3                Defendants argue that Plaintiffs’ proposed class is “invalid” and/or “overbroad” because it

 4    includes members who lack standing or have time-barred claims. These arguments are wrong on

 5    both the facts and the law.

 6                First, Defendants’ standing argument is predicated entirely upon the declarations submitted

 7    with Defendants’ oppositions, in which certain class members claim not to have been harmed.67

 8    The argument is therefore based on a false premise: that Plaintiffs must show every single class

 9    member suffered the same degree of injury as the named Plaintiffs. This is not the law.

10                “[N]amed plaintiffs who represent a class ‘must allege and show that they personally have

11    been injured, not that injury has been suffered by other, unidentified members of the class to which

12    they belong.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 n.6 (2016) (quoting Simon v. E. Ky.

13    Welfare Rights Org., 426 U.S. 26, 40 n.20 (1976)).68 And it is well-settled that the existence of

14    uninjured class members does not defeat class certification. Tyson Foods, Inc. v. Bouaphakeo, 577

15    U.S. 442, 460-61 (2016); see also Heredia v. Sunrise Senior Living, LLC, No. 22-55332, 2023 WL

16    4930840, at *1 (9th Cir. Aug. 2, 2023) (rejecting argument regarding “uninjured class members”

17    and affirming that “[a] possible need for individualized damages calculations does not . . . defeat

18    class action treatment”). Indeed, in Olean—cited by USF—the Ninth Circuit “reject[ed] the []

19    argument that Rule 23 does not permit the certification of a class that potentially includes more

20    than a de minimis number of uninjured class members.” Olean Wholesale Grocery Coop., Inc. v.

21    Bumble Bee Foods LLC, 31 F.4th 651, 669 (9th Cir. 2022). All the more so here: unlike the plaintiffs

22    in Tyson and Olean, Plaintiffs do not seek Rule 23(b)(3) certification for all purposes.

23                Here, there is also simply no basis to conclude that the proposed class includes a “great

24    number” of uninjured class members.69 Plaintiffs have amassed substantial evidence that the Coach

25
      67
         USF Opp’n at 11-12; Nakamura Opp’n at 14-15; Giarratano Opp’n at 12.
26    68
         For good reason—as their harms are well-documented—Defendants do not argue that Plaintiffs
27    lack Article III standing. Cf. Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 865 (9th
      Cir. 2014) (affirming plaintiffs possessed Article III standing to represent a class of other female
28    student-athletes because their own “prospects for competing were hampered” by discrimination).
      69
         USF Opp’n at 11.
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 1    Defendants’ sexual misconduct was severe and pervasive.70 And as set forth above, there is cause

 2    for serious concern regarding the “declarations” submitted with Defendants’ motions, including

 3    that USF was long ago notified that participation in such shows of support are not voluntary, but

 4    that players are “completely coerced into signing” such statements.71 For that reason, USF has itself

 5    not credited similar statements from absent class members, and multiple experts (including USF’s)

 6    agree they are unreliable.72 See also supra § II.C (detailing other problems with the declarations,

 7    including that USF knowingly submitted false statements from Doe 7).

 8                Relatedly, Defendants argue that Plaintiffs’ class definition is overbroad because it may

 9    include uninjured class members. For example, USF cites Berndt for the proposition that Plaintiffs

10    must use a class definition that “limit[s] itself to class members who have actually suffered harm

11    by reason of defendants’ alleged harassment.” USF Opp’n at 12 (quoting Berndt v. Cal. Dep’t of

12    Corr., No. C 03-3174 PJH, 2012 WL 950625, at *11 (N.D. Cal. Mar. 20, 2012)). Since Berndt was

13    decided, however, the Ninth Circuit has unambiguously cautioned that such a definition would

14    constitute an impermissible fail-safe class. See, e.g., Olean, 31 F.4th at 669 n.14 (“A court may not,

15    however, create a ‘fail safe’ class that is defined to include only those individuals who were injured

16    by the allegedly unlawful conduct.”) (citing Ruiz Torres v. Mercer Canyons Inc., 835 F.3d 1125,

17    1138 n.7 (9th Cir. 2016)). The Coach Defendants’ arguments are predicated upon similarly stale

18    and improper fail-safe authorities.73 Giarratano also appears to argue that the class is somehow not

19    ascertainable.74 Setting aside that ascertainability is not a requirement in the Ninth Circuit,75 the

20    class here is readily identifiable through annual baseball rosters. Indeed, Giarratano had no trouble

21    70
         See Mot. at 2-13; supra § II.
      71
22       Selbin Decl., Ex. 2 at USF_0115359.
      72
         See supra § II.C.
23    73
         See Nakamura Opp’n at 15 (quoting Mazur v. eBay, Inc., 257 F.R.D. 563, 567 (N.D. Cal. 2009)
      and Tourgeman v. Collins Fin. Servs., Inc., No. 08-CV-1392 JLS (NLS), 2011 WL 5025152, at *5
24    (S.D. Cal. Oct. 21, 2011) for the proposition that Plaintiffs’ class should be defined to include only
      harmed class members); Giarratano Opp’n at 12 (arguing, without citation to any authority, that
25    “plaintiffs’ definition fails to distinguish between players who were actually subjected to and
      harmed by Defendants’ wrongful conduct . . . and those who were not”).
26    74
         Giarratano Opp’n at 11-12.
      75
27       See Wallenstein v. Mondelez Int’l, Inc., No. 22-cv-06033-VC, 2024 WL 4293904, at *2 (N.D.
      Cal. Sept. 25, 2024) (“[W]hile the defendants invoke concerns about ‘ascertainability,’ this
28    requirement does not exist in the Ninth Circuit.”) (citing Briseno v. Conagra Foods, Inc., 844 F.3d
      1121, 1124 (9th Cir. 2017)).
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 1    “declarations” submitted by class members, disavowing any harm from the Coach Defendants’

 2    sexual misconduct. Even if these declarations are credited—and as discussed above, there is good

 3    reason to question them—they cannot defeat commonality because they do not concern the

 4    common questions actually at issue here. For example, USF notes the “omission” of the following

 5    question from Plaintiffs’ motion as “critical”: “Was each member injured?”83 But this question is

 6    neither omitted nor critical. Again: Plaintiffs do not seek certification of damages issues.84 For

 7    example, to the extent the factfinder determines (in addition to answering other common questions)

 8    that “abuse by the Coaches was foreseeable to USF, or abuse by Nakamura foreseeable to

 9    Giarratano,”85 then each class member would be required to individually step forward and certify

10    that they (like Plaintiffs) were harmed by the Coaches’ misconduct.86

11                As for the issues Plaintiffs do identify, they cited legal authorities supporting the

12    commonality of each question.87 Defendants either ignored or misrepresented these authorities,

13    while also misrepresenting the record. There is no doubt that here, Plaintiffs raise more than the

14    requisite one question. See Abdullah v. U.S. Sec. Assocs., Inc., 731 F.3d 952, 957 (9th Cir. 2013)

15    (noting that not “every question of law or fact must be common to the class; all that Rule 23(a)(2)

16    requires is ‘a single significant question of law or fact.’”) (emphasis in original) (cleaned up).

17                           a.     USF Does Not Rebut Commonality on the Discrimination Claims.
18                USF’s attack on the common questions for Plaintiffs’ discrimination claims amounts to

19    misstatements regarding both anti-discrimination law and the factual record.88 Both attempts fail.

20                On the law, USF asserts: “Plaintiffs do not identify, nor has USF located, any case where a

21    court granted a contested motion for class certification on these types of Title IX claims.”89 This is

22    83
         USF Opp’n at 18.
      84
23       This case is therefore unlike those cited by USF involving class member declarations—none of
      which were brought under Rule 23(c)(4), and in all of which the declarations undercut the
24    commonality of the common questions actually raised. See USF Opp’n at 14 (citing Garcia v. Sun
      Pac. Farming Coop., No. CV F 06-0871 LJO TAG, 2008 WL 2073979 (E.D. Cal. May 14, 2008)
25    and Gonzalez v. Millard Mall Servs., Inc., 281 F.R.D. 455 (S.D. Cal. 2012)).
      85
         Mot. at 21.
26    86
         Given that Plaintiffs do, in fact, include foreseeability as a common question, USF’s inclusion of
      this question as an “omission” is puzzling. USF Opp’n at 18.
27    87
         Mot. at 16-21.
      88
28       See id. at 16-17, 19 (listing questions).
      89
         USF Opp’n at 15.
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 1    false. These claims are discrimination claims—in the main, Plaintiffs allege and will prove they

 2    were denied equal access to educational opportunities because they are men.90 Plaintiffs cited cases

 3    where such claims were certified on contested motions. See Mot. at 18-19 (citing Ollier, 768 F.3d

 4    at 867 and A. B. v. Haw. State Dep’t of Educ., 30 F.4th 828, 834, 840 841 (9th Cir. 2022)). Others

 5    exist.91 To the extent USF faults Plaintiffs for not citing examples of contested (and decided)

 6    certifications specifically on a pre-assault theory, then USF ignores the fact that this is “[a] new

 7    theory of institutional liability from the Ninth Circuit [that] poses a new avenue for plaintiffs suing

 8    universities under Title IX.” Delaney R. Davis, Title IX at Fifty: Reimagining Institutional Liability

 9    Under Karasek’s Pre-Assault Theory, 58 Ga. L. Rev. 313, 313 (2023).

10                USF attacks other of Plaintiffs’ authorities as settlement rather than litigation

11    certifications.92 But Plaintiffs already noted in their motion that “[t]hough Rapuano was certified

12    in the settlement context, the court made clear that its analysis was no less rigorous than if it had

13    been analyzing the class for litigation.”93 And indeed, the Rapuano court noted that settlement

14    certification “demands a searching—not a relaxed—inquiry,” which may differ as between

15    settlement and litigation, but is not less rigorous in the former context. Rapuano v. Trs. of

16    Dartmouth Coll., 334 F.R.D. 637, 643-44 (D.N.H. 2020). Notably, the portion of Rapuano in which

17    USF claimed the court was “easing normal certification requirements” concerned Rule 23(b)(3)

18    predominance, which is not at issue here. Id. at 651. USF dismisses the remainder of Plaintiffs’

19    authorities as being “individual cases, not class actions.” USF Opp’n at 15. What this ignores is

20    how frankly remarkable it is that thirteen people came forward, notwithstanding the pressure to

21    conform and the risk of retaliation, to affirm the need for a class action here.94 And in any event, it

22    is axiomatic that individual cases are instructive in determining the elements of the underlying

23    claim, which necessarily informs which questions are (or are not) common for that claim.
      90
24       See, e.g., ECF No. 133 (TAC) ¶¶ 532-51, 582-88.
      91
         See, e.g., Anders v. Cal. State Univ., Fresno, No. 121CV00179AWIBAM, 2022 WL 3371600,
25    at *8 (E.D. Cal. Aug. 16, 2022) (commonality met on a contested motion for class certification of
      a Title IX claim); Portz v. St. Cloud State Univ., 297 F. Supp. 3d 929, 935 (D. Minn. 2018) (same).
26    92
         USF Opp’n at 15.
      93
27       Mot. at 17 n.24.
      94
         See Selbin Decl., Ex. 20 (Suppl. Boland Rep.) at ¶¶ 25-26. Indeed, the retaliation continues in
28    these papers. The personal attacks on the Does contained in Defendants’ oppositions confirm the
      continued need for anonymous pleading here.
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 1                To support its (false) claim that discrimination class actions never happen, USF cites three

 2    opinions.95 One plainly does not stand for that proposition, as it is not a class case at all, predates

 3    the last quarter-century of development in Title IX law, and ultimately upholds the claim. See Davis

 4    Next Friend LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 654 (1999) (reversing

 5    dismissal of individual Title IX claim). The second is a nearly equally stale case out of the District

 6    of Kansas, in which the court declined to certify a class where two high school students alleged

 7    they were harassed by a male peer at “a private, back-to-school party off school grounds.” Doe v.

 8    Unified Sch. Dist. 259, 240 F.R.D. 673, 674 (D. Kan. 2007). That is a remarkably different set of

 9    circumstances than here: the Coach Defendants abused Plaintiffs and other class members on USF

10    grounds, on a daily basis, for two decades, all while USF not only ignored reports of this abuse but

11    took steps to cover it up.96 The third is a Title VII case, in which the plaintiffs brought an injunctive-

12    relief only class to challenge their employer’s policies and practices as discriminatory, but failed to

13    establish that they—or anyone else—had actually suffered discrimination. See Brown v. Bd. of Trs.

14    of Univ. of Ill., No. 19-cv-02020, 2022 WL 17547575, at *4 (C.D. Ill. Dec. 9, 2022) (“[E]ven if

15    Plaintiffs are correct in their assertion the NDP and its complaint procedure are problematic, such

16    a finding has no bearing on whether anyone suffered a Title VII violation. Plaintiffs have put the

17    cart before the horse.”) (emphasis in original). Not so here: each Plaintiff has detailed his own

18    abuse, and only class members who likewise come forward to demonstrate their harm would be

19    entitled to damages (following a liability finding on the common issues). And Plaintiffs no longer

20    seek injunctive relief, though one hopes USF would seriously consider it, in light of its own

21    recognition regarding the inadequacy of its existing policies and practices.97

22                On the facts, USF first argues that “[w]hile Plaintiffs toss around words like ‘deliberate

23    indifference,’ the truth is that after years of discovery in this case, Plaintiffs remain unable to show

24

25    95
         USF Opp’n at 16-17. In a footnote, USF also cites a series of excessive force cases under 42
      U.S.C. § 1983 that plainly have no application here. See USF Opp’n at 17, n.9 (citing Black Lives
26    Matter L.A. v. City of L.A., 113 F.4th 1249 (9th Cir. 2024); NAACP of San Jose/Silicon Valley v.
      City of San Jose, No. 21-CV-01705-PJH, 2023 WL 2823506 (N.D. Cal. Apr. 7, 2023); Garza v.
27    City of Sacramento, No. 20-cv-01229 WBS JDP, 2022 WL 2757600 (E.D. Cal. July 14, 2022)).
      96
28       See Mot. at 2-13; supra § II.
      97
         See supra § II.A (detailing the findings of the USF-commissioned investigative report).
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 1    that any player made a report of sexual harassment to the university before 2021.”98 False. In fact,

 2    Plaintiffs’ motion detailed complaints to USF throughout the class period, beginning in 2000 with

 3    a complaint made directly to then-AD Bill Hogan about the Coaches’ abuse.99 In discovery

 4    produced since, Plaintiffs uncovered even more examples, as well as admissions by USF that it was

 5    long-aware of a culture of abuse on the baseball program.100 And to be clear: deliberate indifference

 6    is not a buzzword Plaintiffs invented to “toss around.” It is a tenet of federal and state

 7    antidiscrimination law.101 USF’s characterization of it as just a buzzword reflects the same cavalier

 8    attitude toward its responsibility to students that resulted in this lawsuit.

 9                USF next argues that the “report from Plaintiffs’ expert, Robert Boland is a red herring,”

10    because Boland “only review[ed] a select set of USF policies.”102 Also false. As noted in his

11    materials considered—which USF calls “inflated” at the same time it suggests it is inadequate—

12    Boland considered every single policy, presentation, or training USF had by-then produced in the

13    litigation.103 Indeed, Plaintiffs’ counsel repeatedly requested that USF complete its policy

14    productions in advance of class certification, so that Boland would have a complete record. USF

15    refused.104 Plaintiffs also served several interrogatories asking USF to identify all responsive

16    policies and trainings, so Plaintiffs could themselves identify any holes. Boland considered every

17    policy and training USF identified, though USF inexplicably refused to provide an “exhaustive

18    list.”105 Plaintiffs went as far as to do homework for USF, identifying a spreadsheet that appeared

19
      98
         USF Opp’n at 18.
20    99
         Mot. at 11-13.
      100
21        See supra § II (detailing this still incoming discovery).
      101
          See Mot. at 16-17 (detailing elements of Plaintiffs’ deliberate indifference theories).
22    102
          USF Opp’n at 20. Bizarrely, USF also faults Boland for not opining on whether USF’s policy
      failures caused harm to any one class member. USF Opp’n at 21-22. But Plaintiffs do not offer now
23    an expert on such harm, for the simple reason that such expertise is not at issue in this motion.
      Again: should the factfinder reach liability findings on the common issues, only then would each
24    class member come forward to prove harm. As for the Plaintiffs, USF is well aware that they each
      retained an expert (Anthony Charuvastra, MD) to opine on the causes and extent of their harms.
25    Indeed, USF long ago received Dr. Charuvastra’s expert analysis of each Plaintiff, MvK Decl. ¶
      16, so USF’s choice to fault Boland for not offering similar opinions now is puzzling. Dr.
26    Charuvastra’s reports are not discussed here because they are not relevant here.
      103
          See Mot. at 5, n.7 (“Boland reviewed every policy and training document produced by USF
27    through November 15, 2024.”).
      104
28        ECF No. 236 at 4.
      105
          MvK Decl. ¶¶ 17-18.
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 1    to include all responsive documents in this category throughout the class period, and asking USF

 2    to “confirm that spreadsheet reflects the universe of responsive policies, practices, and trainings.”106

 3    Again USF refused, and explained that it was “not able to state definitively at this point” when its

 4    policy production would be complete.107 To the extent Boland did not review a policy or training,

 5    it is solely because USF did not timely produce it.

 6                More importantly, despite suggesting that Boland’s policy review was incomplete, USF

 7    does not identify a single document—policy or training—that it believes Boland should have but

 8    did not review. Similarly, though USF claims that its “policies and the standard of care have

 9    changed over time, providing no uniform answer across the class,”108 USF fails to identify a single

10    example of such a policy change. And perhaps most critically, USF does not (and cannot) challenge

11    Boland’s conclusion that at no point in the class period did USF have policies: “(1) prohibiting

12    sexual communication or sexual conduct between coaches and student-athletes, (2) mandating

13    training related to the power dynamic between coaches and student-athletes and to the inability of

14    student-athletes to consent to any form of sexual communication or sexual conduct with their

15    coaches, or (3) requiring appropriate team environments free from any form of sexual

16    communication or sexual conduct between coaches and student-athletes.”109 Nor does USF

17    challenge Boland’s conclusion that “[t]hese policy failures place USF far below minimal acceptable

18    standards for college sexual misconduct policies.”110

19                           b.     USF Does Not Rebut Commonality on the Retaliation Claim.
20                USF’s sole response to the common questions Plaintiffs raised on their retaliation claim is

21    that Plaintiffs’ case is not similar enough to another recently certified Title IX retaliation case.111

22    In so arguing, USF misrepresents that opinion.

23
      106
24        ECF No. 236-1 at 9.
      107
          Id. at 7.
25    108
          USF Opp’n at 9.
      109
          Mot. at 5 (citing Boland Rep.).
26    110
          Id. Despite not meaningfully challenging Boland’s opinions, USF invites the Court to exclude
27    them. USF Opp’n at 22. This is improper. To the extent USF seeks to include Boland’s opinion, it
      must bring a motion under Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharms.,
28    Inc., 509 U.S. 579 (1993).
      111
          USF Opp’n at 22-23.
                                                                       PLAINTIFFS’ REPLY ISO CLASS CERTIFICATION
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 1                In A. B. v. Hawaii State Department of Education, the Ninth Circuit reversed an order

 2    denying certification, rejecting the very same argument USF makes again here: that the retaliation

 3    was “unique to the named Plaintiffs.” 30 F.4th 828, 834 (9th Cir. 2022) (cleaned up). The Court

 4    held that where, as here, the “retaliation had a deterrent effect on female students more generally[,]

 5    . . . that many of the class members were not the direct targets of the alleged retaliation would not

 6    necessarily be a bar to classwide relief.” Id. at 841. As in A. B., the Coaches’ years-long and

 7    retaliatory practice of (among other retaliation) running players who refused their sexual conduct

 8    off the team had the “effect of broadly dissuading [players] from ‘raising the issue of sex

 9    discrimination’ out of fear that the [Coaches] would likewise retaliate against them.” Id. at 840.

10                These holdings were detailed in Plaintiffs’ motion, yet USF fails to engage them. Instead,

11    USF falsely asserts that the opinion requires plaintiffs to “point to [a] specific retaliatory action.”112

12    As set forth above and in Plaintiffs’ motion, it plainly does not. USF has simply provided no basis

13    to conclude that the two questions Plaintiffs identified for their retaliation claim are anything but

14    common. See Mot. at 19 (identifying questions).

15                           c.      Defendants Do Not Rebut Commonality on the Negligence Claims.
16                Again, USF’s sole response to the common questions Plaintiffs raised on their negligence

17    claims is that Plaintiffs’ case is not similar enough to another case where a court in this District

18    recently certified negligence claims.113 Here, too, USF’s argument fails.

19                In Hilario v. Allstate Insurance Co., the Court certified the negligence claims of a group of

20    California homeowners’ insurance policyholders challenging Allstate’s double counting of built-in

21    garage space in calculating the square footage of their homes. 642 F. Supp. 3d 1048, 1054 (N.D.

22    Cal. 2022), aff’d, No. 23-15264, 2024 WL 615567 (9th Cir. Feb. 14, 2024). The Court affirmed

23    that whether Allstate’s alleged failures to catch, communicate, and correct this double-counting

24    presented “common questions of law and fact ‘capable of class-wide resolution.’” Id. at 1060

25    (citation omitted). In so holding, the Court rejected Allstate’s attacks that, like USF’s attacks here,

26    focused on purportedly individualized questions of proof. See id. at 1061 (rejecting “Allstate’s

27
      112
28          USF Opp’n at 22.
      113
            Id. at 23.
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 1    argument against commonality . . . that ‘determin[ing] liability under Plaintiff’s theory . . . would

 2    necessitate individual adjudication of the true size of each home, as well as [other unique

 3    considerations]’”). There, as here, “the ‘common answers’ about whether Allstate implemented [a]

 4    policy, and breached any duty . . . will ‘drive the resolution of litigation.’” Id. (citation omitted).

 5    So again, USF has provided no basis to conclude that the seven questions Plaintiffs identified for

 6    their negligence claims are anything but common. See Mot. at 21 (identifying questions).

 7                The Coach Defendant’s commonality arguments fare no better. They simply repeat the

 8    misguided attack that Plaintiffs’ motion fails because it is too targeted—i.e., focused on only the

 9    common issues, and not the issues Plaintiffs agree are individual and will necessitate individualized

10    evidence (i.e., whether USF’s and the Coach Defendants’ actions and inactions caused them harm,

11    and if so, the extent of that harm).114 Like USF, they rely near exclusively on the declarations

12    submitted in opposition to class certification.115 Again, even if there were not good cause to

13    question those declarations, they have zero bearing on the common issues actually identified by

14    Plaintiffs for classwide resolution. And contrary to their suggestions, none of the authorities cited

15    by the Coach Defendants actually stands for the proposition that no common questions can exist

16    where the class representatives’ and class members’ experiences differ.116

17    114
          Nakamura and Giarratano argue that Plaintiffs’ common questions are insufficient because they
      would not entirely resolve all elements of Plaintiffs’ negligence claims—duty, breach, causation,
18    and damages. Nakamura Opp’n at 17-18; Giarratano Opp’n at 15. This is just a failure to engage
      the motion Plaintiffs actually brought. Plaintiffs do not dispute that there must be individual trials
19    to determine whether and to what extent each class member was harmed. Mot. at 24-25. But that is
      not a flaw in Plaintiffs’ motion—it is an appropriate application of Rule 23(c)(4). See also infra §
20    III.C.2 (responding to Defendants’ argument that Rule 23(c)(4) is unavailable unless a plaintiff
      seeks issue certification on all potential liability issues).
21    115
          Nakamura Opp’n at 17; Giarratano at 17-21.
      116
22        Nakamura Opp’n at 16. See Willis v. City of Seattle, 943 F.3d 882, 887 (9th Cir. 2019) (affirming
      denial of Rule 23(b)(2)—not (c)(4)—certification, in case brought by unhoused individuals
23    challenging the city’s practice of destroying property during “sweeps” of encampments, because
      even as framed most favorably for appellants, their “arguments primarily focus on how the [city’s]
24    Guidelines give employees too much discretion,” which the Supreme Court has held is precisely
      the sort of question that cannot be common) (citing Wal-Mart, 564 U.S. at 355); Howard v. Cook
25    Cnty. Sheriff’s Off., 989 F.3d 587, 603-04 (7th Cir. 2021) (commonality lacking because plaintiffs
      had not demonstrated that ambient harassment “manifests in the same way across all parts of the
26    jail,” where the jail filled 36 buildings that spanned eight city blocks and had a rotating population
      basis of 6,500 inmates); Van v. Ford Motor Co., 332 F.R.D. 249, 260-62, 277-78 (N.D. Ill 2019)
27    (commonality lacking where the misconduct occurred in two large Ford Motor Company
      facilities—akin to “mini-cit[ies]”); Hanni v. Am. Airlines, Inc., No. C 08-00732 CW, 2010 WL
28    289297, at *1 (N.D. Cal. Jan. 15, 2010) (commonality lacking for 13,000 passengers whose
      numerous different flights were delayed for varying amounts of time).
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 1                           d.     Plaintiffs’ Common Evidence Is Admissible.

 2                Nakamura argues that Doe 1 and 2’s deposition testimony from the NCAA matter

 3    (Plaintiffs’ opening Exhibits 3 and 4), along with Plaintiffs’ opening Exhibits 13, 14, 15, and 19

 4    are unauthenticated and inadmissible.117 But the Ninth Circuit has expressly rejected the argument

 5    that evidence offered in support of class certification need be admissible. See Sali v. Corona Reg’l

 6    Med. Ctr., 909 F.3d 996, 1004 (9th Cir. 2018) (“[T]he ‘evidentiary proof’ a plaintiff must submit

 7    in support of class certification . . . need not be admissible evidence.”).

 8                Nakamura’s argument also fails on its merits. All of the Exhibits are authentic because USF

 9    produced them in discovery.118 Exhibits 13 and 15 are emails reflecting USF Human Resources

10    Director Diane Nelson’s “summary of findings” from her investigation into Giarratano and

11    Nakamura’s misconduct. Exhibit 14 are her notes from calls with Giarratano and Nakamura. These

12    documents are straightforward party admissions under Rule 801(d)(2).119 Exhibit 19 is a complaint

13    by Doe 8’s father to USF about the Coaches. It is offered for a non-hearsay purpose: notice. See

14    Mot. at 11 (exhibit offered to show USF’s awareness of misconduct).120

15                As to the testimony from the NCAA matter, it is admissible under both Federal Rule of

16    Civil Procedure 32(a)(8) and Federal Rule of Evidence 804(b). See Moore’s Federal Practice - Civil

17    § 32.63 (explaining that Rule 32(a)(8) and Rule 804(b) provide independent bases for admission of

18    prior testimony). Rule 32(a)(8) permits the admission of deposition testimony from another matter

19    with (1) “a substantial identity of issues,” and (2) “the presence of an adversary with the same

20    motive to cross-examine the deponent.” Hub v. Sun Valley Co., 682 F.2d 776, 778 (9th Cir. 1982).

21    “[T]he two lawsuits need not involve identical issues and parties.” Id. Rule 804(b) permits

22    117
          Nakamura Opp’n at 9.
      118
          See, e.g., Siebert v. Gene Sec. Network, Inc., 75 F. Supp. 3d 1108, 1115 (N.D. Cal. 2014) (act
23    of producing document in discovery authenticates it). And none is hearsay.
      119
24        See, e.g., Ortega v. Neil Jones Food Co., No. 12-CV-05504-LHK, 2014 WL 232358, at *5 (N.D.
      Cal. Jan. 21, 2014) (statements made to party’s HR employees admissible as party admissions when
25    offered against party). Moreover, the documents have other “circumstantial guarantees of
      trustworthiness”—none of the Defendants had any incentive to substantiate the Does’ allegations
26    of misconduct, but that’s exactly what USF found and what the Coaches admitted to. See Sana v.
      Hawaiian Cruises, Ltd., 181 F.3d 1041, 1046 (9th Cir. 1999) (finding employees statements within
27    insurance investigator’s report admissible as party admission).
      120
          See Pinterest, Inc. v. Pintrips, Inc., No. 13-cv-04608-HSG, 2015 U.S. Dist. LEXIS 76545, at *3
28    (N.D. Cal. June 12, 2015) (holding “both exhibits may be admitted for the non-hearsay purpose of
      demonstrating Pintrips’ knowledge and intent”).
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 1    admission where a “predecessor in interest . . . had an opportunity and similar motive to develop

 2    the testimony by cross examination.” Brighton Collectibles, Inc. v. Coldwater Creek Inc., No. 06-

 3    CV-01848-H (POR), 2009 WL 10671818, at *8 (S.D. Cal. Apr. 22, 2009). The objecting party

 4    bears the burden of explaining “precisely why [the] motive and opportunity of defendants in the

 5    first case were not adequate to develop cross-examination that the instant defendant would have

 6    presented to the witness.” Id. (quoting Rutter Group, Fed. Civil Trials & Evidence, 8:3062).

 7                Here, the NCAA matter and this case unquestionably share a “substantial identity of

 8    issues”—the cases were originally one action121 and the exact same conduct is at issue in both.

 9    Defendants themselves have referred to the NCAA as a related case. See ECF No. 228 at 32 (“[T]his

10    action and the NCAA action are nearly identical.”). Similarly, the NCAA took the depositions in

11    question and had a similar motive as Nakamura to develop the testimony: minimizing or disproving

12    the Does’ allegations of misconduct. Nakamura makes no contrary argument despite bearing the

13    burden to do so. And Nakamura himself had an opportunity to participate in the depositions in

14    question—Plaintiffs noticed the depositions for both this and the NCAA action.122 Nakamura

15    refused and should not now be heard to complain that he was not present.

16                Finally, it is worth noting that Nakamura does not suggest that the testimony in question is

17    inconsistent with what Does 1 and 2 offered in this case (which occurred after Plaintiffs filed their

18    motion). Nor does he argue that Does 1 and 2 could not have made identical points in sworn

19    declarations (just as he did in opposition). And in fact, both Does did. See Doe 1 Decl. ¶ 21; Doe 2

20    Decl. ¶ 22 (adopting their NCAA deposition testimony as a more fulsome account of the

21    misconduct they experienced).

22                       3.      Plaintiffs’ Claims Are Typical of the Class.
23                Defendants do not dispute that courts find typicality satisfied in cases like this one. See Mot.

24    at 21-22 (citing typicality findings in similar contexts). Instead, their arguments are predicated upon

25    perceived differences in the extent of harm experienced by Plaintiffs and other class members.123

26    Here, again, Defendants misunderstand the necessary inquiry.

27    121
          But for lack of personal jurisdiction, they still would be.
      122
28        MvK Decl. ¶ 20.
      123
          USF Opp’n at 24-26; Nakamura Opp’n at 18-19.
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 1                The typicality requirement is met when the class representative’s claims rest on the same

 2    legal theory as absent class members, and the existence of different factual circumstances in

 3    proving (or disproving) that theory does not defeat typicality. See Mot. at 21 (citing Ellis v. Costco

 4    Wholesale Corp., 657 F.3d 970, 984 (9th Cir. 2011); Wolin v. Jaguar Land Rover N. Am., LLC,

 5    617 F.3d 1168, 1175 (9th Cir. 2010)).124 Where, as here, a class representative seeks only to certify

 6    certain issues under (c)(4)—and not entire claims—the inquiry is necessarily limited to typicality

 7    as to those issues. Here, Defendants do not even bother to argue that the either the legal theories or

 8    evidence underpinning these common issues will differ in any way across the class. Instead, as

 9    throughout their opposition, they attempt to direct the Court’s attention to irrelevant distinctions

10    between class members’ harms as purportedly reflected in the “declarations” obtained from absent

11    class members.125 As discussed extensively, these declarations do not defeat certification.

12                Defendants also argue that the named Plaintiffs are subject to unique defenses, such as

13    “defenses to players whose parents paid their tuition, or covered other expenses related their

14    departure from USF.”126 Even assuming Defendants can identify individual defenses—and to be

15    clear, your parents paying your tuition is a defense to neither discrimination nor negligence—

16    Defendants will have an opportunity to present those defenses. So even assuming such defenses

17    exist, they would not defeat typicality.

18                   4.          Plaintiffs and Counsel Adequately Represent the Class.

19                The Court instructed the parties to “bring down the temperature.”127 In its opposition, USF

20    did the opposite—repeatedly (and falsely) calling Does 1-3 money-grubbing liars.128 USF (and only

21    USF) went a step further, attacking proposed class counsel’s adequacy and levying serious

22    accusations regarding counsel’s representation of Plaintiffs in this action.129 While, to their credit,

23    124
          USF is the only Defendant to substantively cite any authority in its attempt to undercut typicality.
24    USF Opp’n at 24. But it is the same case—Doe v. Unified Sch. Dist. 259—that USF relied upon for
      commonality, and remains unpersuasive for the reasons detailed above. See supra § III.B.2.a.
      125
25        USF also argues in opposing typicality that “Plaintiffs cannot even keep their own clients from
      recanting.” USF Opp’n at 25. As discussed below, Doe 7’s declaration cannot be credited and
26    USF’s conduct in eliciting it raises serious ethical concerns. See infra at 29.
      126
          USF Opp’n at 27. See also Nakamura Opp’n at 19; Giarratano Opp’n at 16-17.
27    127
          ECF No. 235 at 2.
      128
28        USF Opp’n at 9-10.
      129
          Id. at 28.
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 1    Nakamura’s and Giarratano’s adequacy arguments are not ad hominem, they are no more

 2    compelling. None of the arguments undercut the adequacy of either Plaintiffs or their counsel.

 3                As to Plaintiffs, USF first argues that a conflict exists because Does 1-3 (and class members

 4    who played since March 11, 2020) have claims the Court found untimely for Does 4-14 (and class

 5    members who played between March 10, 2020 and 2000). USF cites zero authority that this

 6    presents a conflict defeating adequacy.130 But if the Court prefers to divide the class, doing so would

 7    entirely resolve the issue: with Does 1-3 to represent a subclass of “All members of the University

 8    of San Francisco baseball team since March 11, 2020,” who have live discrimination and retaliation

 9    claims against USF, and live negligence claims against USF and the Coach Defendants; and Does

10    4-14 to represent a subclass of “All members of the University of San Francisco baseball team

11    between March 10, 2020 and 2000” who have live discrimination claims against USF.

12                USF and Giarratano further argue that Plaintiffs are not adequate because some absent class

13    members claim—through the declarations—that they disagree with the lawsuit and support the

14    Coach Defendants.131 This fundamentally misunderstands the role of a class representative. In this

15    case, as in all class actions, there may be individuals who do not want to be included in the class.

16    This is not fatal to class certification, it is the very reason a notice and opportunity to opt-out are

17    built into Rule 23. If an issue class is certified, all absent class members—including all of the

18    declarants—will have an opportunity to remove themselves from the case.

19                Finally, Nakamura argues that Plaintiffs are not adequate because they may be subject to

20    “unique defenses” that “will necessarily involve individualized” fact-finding.132 Nakamura fails

21    again here to actually identify any such defenses. In any event, Plaintiffs’ motion contemplates a

22    second, individual phase of trial—at which point Plaintiffs would no longer represent the class, but

23    themselves—where any individual defenses or fact-finding would occur. This is precisely how Rule

24    23(c)(4) was designed to operate. See Jimenez, 765 F.3d at 1166-67 (adopting the prevailing view

25    that individualized “determination of damages” may follow classwide resolution of common issues,

26    even in the more demanding context of a Rule 23(b)(3) class). Nakamura’s authorities on this point

27    130
          USF Opp’n at 28.
      131
28        Id.; Giarratano Opp’n at 21.
      132
          Nakamura Opp’n at 20.
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 1    are therefore not instructive, as they concern different sections of Rule 23.133

 2                As to proposed class counsel, USF’s attacks are based on demonstrable falsehoods in the

 3    Declaration of Doe 7.134 By relying on these statements—some of which USF unquestionably

 4    knows to be false—USF placed Plaintiffs’ counsel in the difficult position of having to demonstrate

 5    the untruthfulness of statements made by a former client under penalty of perjury. Plaintiffs’

 6    counsel do not take this lightly, and retained an expert in California legal ethics to advise on how

 7    to address this unfortunate situation in a manner that complies with their obligations to this former

 8    client under the California Rules of Professional Conduct.135 Consistent with this expert’s advice,

 9    Plaintiffs’ counsel detail below the false statements in Doe 7’s declaration concerning their

10    representation, and the documentation that these statements are false.136

11                Statement: “In March 2024, I relieved Lieff Cabraser Heimann & Bernstein, LLP and
                  Fegan Scott LLC as my counsel in this litigation. . . . I requested that my former lawyers
12                stop representing me because I did not believe that they adequately represented my
13                interests.” Doe Decl. ¶ 3, 18.
                  Facts: It is public record that Plaintiffs’ counsel withdrew representation after
14                exhaustive efforts to contact Doe 7 went unanswered. Only after being served with the
15                Court’s order granting withdrawal did Doe 7 respond. He cited personal reasons, not
                  counsel’s representation, to explain his absence. Fegan Decl. ¶¶ 16, 34-57.
16
                  Statement: “When the lawsuit was filed, I was shocked to learn that I was also suing
17                USF and the NCAA. I never agreed to sue the NCAA or the University of San
                  Francisco, because I do not think they have done anything wrong.” Doe Decl. ¶ 3.
18
                  Facts: Doe 7 retained Plaintiffs’ counsel specifically to sue USF. He received, edited,
19                and approved multiple drafts of the complaints naming all Defendants and exhaustively
                  detailing the Coaches’ sexual misconduct. Fegan Decl. ¶¶ 19-33.
20

21                Statement: “During the time they represented me, I was very surprised by how
                  uninterested my lawyers seemed in my personal experience. The only forms of
22                communication with my former lawyers were group e-mails or Zooms with the other
                  Plaintiffs. At no point during their representation of me did my former lawyers speak
23                with me individually about my experiences on the USF baseball team.” Doe Decl. ¶ 5.
24

25    133
          See Tourgeman, 2011 WL 5025152 (Rule 23(b)(3)); Freeman v. Delta Airlines, Inc., No. 15-
      CV-160 (WOB-CJS), 2019 WL 2495471 (E.D. Ky. June 14, 2019) (same); Hanlon v. Chrysler
26    Corp., 150 F.3d 1011 (9th Cir. 1998) (same).
      134
          USF Opp’n at 28.
27    135
          Selbin Decl. ¶¶ 2-3.
      136
28        Falsehoods in Doe 7’s declaration regarding the Coach Defendants’ sexual misconduct are
      detailed above. See infra § II.C.
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 1                Facts: Plaintiffs’ counsel was in regular, direct contact with Doe 7. Before going silent,
                  he promptly responded, thanking counsel for their efforts. Fegan Decl. ¶¶ 19-33.
 2

 3    As set forth above, USF also elicited statements from Doe 7 that are adverse to his live claims in

 4    this case.137 USF’s conduct with respect to Doe 7—an adverse pro se party—implicates California

 5    Rule of Professional Conduct 4.3. Plaintiffs’ counsel retained an ethics expert and served discovery

 6    on these topics.138 That expert—Merri Baldwin—evaluated both Plaintiffs’ counsel’s conduct

 7    alleged in the Doe 7 declaration and USF’s conduct in obtaining and submitting it. She concludes:
             a.       Plaintiffs’ Counsel complied with their ethical obligations and the standard of
 8
                      care in connection with its communications with Doe 7 about the complaint and
 9                    in seeking approval of that complaint[.]

10           b.       Plaintiff’s Counsel’s Reply . . . complies with the ethical duties and standards
                      that apply to Plaintiffs’ Counsel as former counsel to Doe 7, including the duty
11                    of confidentiality and attorney-client privilege[.]
12           c.       Defense Counsel’s conduct in obtaining and drafting the Doe 7 Decl. appears
                      to violate ethical rules and standards that apply to attorney communications
13                    with an unrepresented adverse party, given the fact that Doe 7 remains a
                      plaintiff in this matter, was apparently unrepresented with respect to that
14
                      declaration, and disclosed otherwise privileged information to Defense Counsel
15                    that is potentially harmful to Doe 7’s own interests. Additionally, . . . there is a
                      concern about whether Defense Counsel violated the duty of candor to the
16                    Court.139
17    With respect to USF’s counsel’s interactions with Doe 7, Baldwin concluded further:
                I am not aware of any facts that suggest that Doe 7 was represented by
18              independent counsel in connection with the Doe 7 Decl., or that he was advised
19              to seek such consultation. Likewise I see no facts that suggest that Doe 7 was
                aware of the fact that he was disclosing privileged communications, or the
20              potential risk to him of doing so. Assuming there are no facts to show such
                disclosures to or awareness by Doe 7, this situation demonstrates the significant
21              risks that exist where counsel for an adverse party contacts an unrepresented
                party, and exemplifies exactly the reason CRPC 4.3 exists and the justification
22
                for the protections it imposes.140
23                Once USF produces the discovery Plaintiffs sought on these issues, it may be appropriate
24    to convene an evidentiary hearing. For now, suffice it to say: USF’s attacks on Plaintiffs’ counsels’
25    adequacy—predicated entirely upon false statements—cannot be credited.
26    137
          See supra § II.C (detailing inconsistencies between the testimony USF elicited from Doe 7 at
      the arbitration hearing and then drafted for Doe 7 in the declaration).
27    138
          Selbin Decl. ¶¶ 2-3; MvK ¶ 19.
      139
28        Preliminary Expert Report of Merri Baldwin, ¶ 9.
      140
          Id., ¶ 25.
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 1                C.    The Class Is Appropriate for Issue Certification under Rule 23(c)(4).

 2                      1.     Predominance Is Not at Issue.

 3                Defendants acknowledge that Plaintiffs need not satisfy Rule 23(b)(3)’s predominance

 4    requirement to certify a class under Rule 23(c)(4).141 Yet all three sidestep this admission,

 5    repeatedly arguing that Plaintiffs’ motion fails because “common issues do not predominate.” For

 6    example, USF argues that “prov[ing] individual harm” will “predominate over Plaintiffs’ proposed

 7    class issues,” and that Plaintiffs’ class issues are insufficient because “[t]hese questions fail to

 8    conclusively address injury.”142 It apparently bears repeating: Plaintiffs do not seek certification of

 9    damages issues. And they need not, to seek certification of other issues under Rule 23(c)(4). Indeed,

10    the Ninth Circuit endorsed precisely this bifurcated approach in the more demanding Rule 23(b)(3)

11    context. Jimenez, 765 F.3d at 1166-67. In a case cited by USF, the Seventh Circuit also recently

12    rejected the very “all or nothing” approach to Rule 23(c)(4) that Defendants continue to advocate:

13    “Agreeing with the . . . Ninth Circuit[], we hold that, as part of satisfying its burden under Rule 23,

14    a party seeking certification of an issue class under Rule 23(c)(4) must show that common questions

15    predominate in the resolution of the specific issue or issues that are the subject of the certification

16    motion and not as to the cause of action, taken as a whole.” Jacks v. DirectSat USA, LLC, 118 F.4th

17    888, 897 (7th Cir. 2024) (cleaned up, emphasis supplied).

18                As detailed in Plaintiffs’ motion and the newly obtained evidence cited here, common

19    evidence will be used to establish liability on the common issues Plaintiffs identified.143 None of

20    this evidence turns on the lived experience of any one class member: it concerns USF’s and the

21    Coach Defendants’ conduct—the systemic discrimination and/or negligence, over decades, that put

22    class members at risk of the harms Plaintiffs attest to experiencing. This is precisely how Rule

23    23(c)(4) operates. See, e.g., Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996)

24    (“Even if the common questions do not predominate over the individual questions so that class

25    certification of the entire action is warranted, Rule 23 authorizes the district court in appropriate

26    cases to isolate the common issues . . . and proceed with class treatment of these particular issues.”).

27    141
          USF Opp’n at 13; Nakamura Opp’n at 22; Giarratano Opp’n at 10.
      142
28        USF Opp’n at 10, 13.
      143
          See Mot. at 16-19, supra § II.
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 1                       2.      Determination of Common Issues Will Drive Resolution of this Action.

 2                Defendants argue that certification of an issues class is inappropriate here because Plaintiffs

 3    do not seek certification of every element of their negligence claim, and specifically, do not seek

 4    certification of causation and damages. See USF Opp’n at 29 (“Courts routinely deny requests to

 5    certify Rule 23(c)(4) classes in circumstances like this, where the determination of liability requires

 6    individualized assessment of injury and causation.”) (citing cases where courts denied Rule

 7    23(c)(4) certification of negligence claims); Nakamura Opp’n at 21-22 (same); Giarratano Opp’n

 8    at 14-15 (same).144 This is not “routine,” Rule 23(c)(4) contains no such limitation, and the Ninth

 9    Circuit has never adopted one. This Court should not either.

10                Defendants’ primary authority is Adkins v. Facebook, Inc., 424 F. Supp. 3d 686 (N.D. Cal.

11    2019). There, a Facebook user brought a class action alleging the company’s inadequate security

12    practices “allowed hackers to break into Facebook’s platform and pilfer the personal information

13    of 29 million Facebook users worldwide.” Id. at 689-90. Unlike here, plaintiff sought certification

14    of his negligence claim under Rules 23(b)(2), 23(b)(3), and 23(c)(4). Id. at 694. The Court spent

15    the vast majority of its analysis on Rules 23(b)(2) and 23(b)(3)—spending only one paragraph (a

16    total of 148 words) on Rule 23(c)(4)—and cited zero case law in its brief Rule 23(c)(4) analysis.

17    Id. at 697. In addition to being an afterthought, the harm plaintiff sought to redress through Rule

18    23(c)(4)—“individual damages resulting from the time spent devoted to the data breach”—is

19    remarkably different from the harm Plaintiffs seek to redress here. Id. at 690, 694. It is not difficult

20    to imagine why the Court was concerned that individualized trials regarding the “cause” of

21    Facebook users’ wasted time was an inappropriate use of Rule 23(c)(4). This is particularly true as

22    the Court had already concluded that the plaintiff himself had been unable to prove causation and

23    damages for the harms he sought to redress under Rule 23(b)(3). See id. at 696 (holding that because

24    plaintiff “has incurred zero out-of-pocket expenses as a result of this breach,” he “is not a member

25    of the class he seeks to represent”); id. at 697 (holding that “loss of privacy and loss of royalties”

26    was “too speculative to assert a claim for negligence”). Here, in contrast, Plaintiffs’ experiences

27    reflect that the individual causation and harm inquiries will be far more connected and far more
      144
28       USF therefore appears to have conceded that determination of the common issues on Plaintiffs’
      discrimination claims would materially advance resolution of those claims.
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 1    concrete, and will benefit from streamlined determinations on the issues of duty and breach.

 2                Defendants’ remaining authorities are no more compelling. In Tasion, plaintiffs attempted

 3    the opposite of what Defendants argue is inappropriate here: “basically asking the Court to have

 4    every element of a claim for fraudulent inducement and/or breach of express warranty subject to

 5    class treatment,” including punitive damages, notwithstanding the fact that the Court had denied

 6    Rule 23(b)(3) certification for those same claims. Tasion Commc'ns, Inc. v. Ubiquiti Networks, Inc.,

 7    308 F.R.D. 630, 639 (N.D. Cal. 2015). In other words, the Tasion plaintiffs were attempting to use

 8    Rule 23(c)(4) to erase (b)(3) predominance on every issue even damages. Id. Plaintiffs make no

 9    such attempt here. Rather, Plaintiffs acknowledge that causation and damages—which will be

10    inextricably linked in a case of this nature—will necessitate individual inquiries. But first deciding

11    the common issues of duty and breach using common evidence will “materially advance the

12    litigation”—an end the Tasion Court acknowledges is worthy. Id. at 633. And in Zinser—cited by

13    both Nakamura and Giarratano—the Ninth Circuit did not consider Rule 23(c)(4) at all, but

14    affirmed denial under Rules (b)(1)(A), (b)(1)(B), (b)(2), and (b)(3). Zinser v. Accufix Rsch. Inst.,

15    Inc., 253 F.3d 1180, 1184 (9th Cir. 2001), opinion amended on denial of reh’g, 273 F.3d 1266 (9th

16    Cir. 2001). Notably, however, the dissent argued that the “manageability problems” identified by

17    the Court could be resolved by Rule 23(c)(4). 253 F.3d at 1200-01. Amending that order following

18    denial of rehearing en banc, the Court added only one line: “Of course, we do not suggest that the

19    causation difficulties necessarily render class certification impossible.” 273 F.3d at 1266.145
      145
20        Defendants’ remaining authorities are either similarly unpersuasive or completely inapposite.
      See ABC Distrib., Inc. v. Living Essentials LLC, No. 15-cv-02064 NC, 2017 WL 2603311 (N.D.
21    Cal. Apr. 7, 2017) (not a Rule 23(c)(4) case at all); Moore v. Apple Inc., 309 F.R.D. 532 (N.D. Cal.
      2015) (same); Bruce v. Teleflora, LLC, No. 13-cv-03279-ODW(CWx), 2013 WL 6709939 (C.D.
22    Cal. Dec. 18, 2013) (same); Campion v. Old Republic Home Prot. Co., 272 F.R.D. 517 (S.D. Cal.
      2011) (same); McGlenn v. Driveline Retail Merch., Inc., No. 18-cv-2097, 2021 WL 165121, at *11
23    (C.D. Ill. Jan. 19, 2021) (out-of-Circuit and out-of-date case requiring issues sought to be certified
      to predominate over all issues in the case, in contravention of current Ninth and Seventh Circuit
24    precedent); Jones v. BRG Sports, Inc., No. 18 C 7250, 2019 WL 3554374, at *9 (N.D. Ill. Aug. 1,
      2019) (issue certification not appropriate because the issues sought to be certified “arise under
25    eighteen different states’ legal schemes”); Hernandez v. Wells Fargo Bank, N.A., No. C 18-07354
      WHA, 2020 WL 469893, at *2 (N.D. Cal. Jan. 29, 2020) (issue certification not appropriate where
26    multiple states’ laws governed determination of what was “outrageous” for purposes of establishing
      intentional infliction of emotional distress claim); Wollam v. Transamerica Life Ins. Co., No. 21-
27    cv-09134-JST, 2024 WL 1117050, at *7 (N.D. Cal. Mar. 13, 2024) (rejecting plaintiff’s request
      made “[i]n passing” for certification under Rule 23(c)(4) and conducting no analysis separate from
28    its Rule 23(b) analysis); Moeller v. Taco Bell Corp., No. C 02-5849 PJH, 2012 WL 3070863, at *4
      (N.D. Cal. July 26, 2012) (liability is truly individualized, unlike here, because case concerned
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 1                Defendants’ authorities therefore do not create the categorical “causation” bar Defendants

 2    ask the Court to apply to Rule 23(c)(4) here. Indeed, even the Adkins Court acknowledged that

 3    “[t]he text does not explain when such a [Rule 23(c)(4)] class would be appropriate.” 424 F. Supp.

 4    3d at 697. And though the Ninth Circuit has not spoken on the issue, others have, and have explicitly

 5    endorsed issue certification where “individualized issues concerning fact-of-injury, proximate

 6    causation, and extent of damages can be resolved” following common determination of the certified

 7    issues. Martin v. Behr Dayton Thermal Prods. LLC, 896 F.3d 405, 410 (6th Cir. 2018). See also id.

 8    at 415 (“What is more, Tyson instructs that certification may remain ‘proper’ even if ‘important

 9    matters’ such as actual injury, causation, and damages will have to be tried separately.”) (citing

10    Tyson, 577 U.S. at 452).

11                       3.      A Class Is Manageable and Superior to Multiple Individual Actions.
12                In determining whether an issues class is superior to individual actions, the question is: “Is

13    it more efficient, in terms both of economy of judicial resources and of the expense of litigation to

14    the parties, to decide some issues on a class basis or all issues in separate trials?” Butler v. Sears,

15    Roebuck & Co. (“Butler I”), 702 F.3d 359, 362 (7th Cir. 2012), cert. granted, judgment vacated,

16    569 U.S. 1015 (2013), judgment reinstated, Butler II, 727 F.3d 796. Here, the two-phased approach

17    Plaintiffs advocate would unquestionably streamline the individualized damages inquiries that will

18    occur—with or without class certification—after determination of common issues. Defendants’

19    counterarguments do not demonstrate otherwise.

20                USF argues that “judicial economy in the Northern District would be overwhelmed in

21    attempting to adjudicate the remaining individual issues on the potential hundreds of trials.”146

22    This misses the point that individual trials will occur either way, and it is far more efficient for

23    those trial to begin (or not begin at all) because common issues of, for example, duty and breach

24    individualized disability access); McKinnon v. Dollar Thrifty Auto. Grp., Inc., No. CV 12–cv–
      04457–SC, 2015 WL 4537957, at *5 (N.D. Cal. July 27, 2015) (erroneously concluding that issue
25    certification was inappropriate under Rule 23(c)(4) based on Rule 23(b) analysis); In re ConAgra
      Foods, Inc., 302 F.R.D. 537, 580 (C.D. Cal. 2014) (issue certification not appropriate where the
26    law of twelve different states would apply); McLaughlin v. Am. Tobacco Co., 522 F.3d 215, 234
      (2d Cir. 2008) (out-of-Circuit case requiring issues sought to be certified to predominate over all
27    the issues, in contravention of Ninth Circuit authority); In re Baycol Prods. Litig., 218 F.R.D. 197,
      209 (D. Minn. 2003) (issue certification not appropriate where laws of 51 jurisdictions “will infuse
28    complexity” into a class trial).
      146
          USF Opp’n at 31.
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 1    have first been established (or defeated) across all cases. This is not a radical approach—it is

 2    precisely how Rule 23(c)(4) was designed to operate. This approach was also long ago adopted by

 3    the Supreme Court to streamline trials in a related discrimination context. See Int’l Bhd. of

 4    Teamsters v. United States, 431 U.S. 324, 376 (1977) (setting forth two stages for trial of disparate

 5    treatment claims: liability, followed by a remedial phase to determine individual damages).147 See

 6    also Tyson, 577 U.S. at 461 (affirming certification of class under the Fair Labor Standard Act that

 7    contained over 200 uninjured members and noting that damages may be apportioned in remedial

 8    phase so that only injured members recover).

 9                Nakamura argues that an issues class is not superior because “as shown by their

10    declarations, class members do not want to be part of this case.”148 Again, there is good reason to

11    doubt the degree of “hostility” Defendants have manufactured, given the documented campaign

12    of coercion—as reported to USF—necessary to obtain this “cookie-cutter” support.149 Nakamura

13    is also wrong to “presume” that Plaintiffs’ counsel have not been contacted by class members who

14    are not John Does but shared their experiences.150 In fact, he knows they have—he attempted to

15    access Plaintiffs’ counsel’s privileged communications with just such people.151 In any event, the

16    authorities Nakamura cites do not stand for the proposition that “hostility” defeats superiority—in

17    both cases, the Court was concerned with how disagreements among class members would impact

18    Rule 23(b)(3)’s inquiry into “the interest of each class member in individually controlling the

19    prosecution or defense of separate actions.” McDonald v. Ricardo’s on the Beach, Inc., No. CV

20    11-9366 PSG (MRWx), 2013 WL 228334, at *5 (C.D. Cal. Jan. 22, 2013); see also Leuthold v.

21    Destination Am., Inc., 224 F.R.D. 462, 469 (N.D. Cal. 2004) (same). Here, because this case is

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      147
          Title VII authorities are instructive in assessing Title IX claims. Bolla v. McClain, 469 F. App’x
23    531, 532 (9th Cir. 2012).
      148
          Nakamura Opp’n at 23. Nakamura also argues that “courts are clear that a class action may be
24    superior ‘where damages suffered by each putative class member are not large.’” Id. (quoting
      Zinser, 253 F.3d at 1190). While it is true that class actions afford access to justice in cases that
25    would—due to the small size of recovery—not otherwise be economically feasible, this is no bar
      to class actions where class members stand to recover more. That is particularly true where, as here,
26    the process imagined would ultimately involve individualized showings of harm to access an award
      (substantial or otherwise).
27    149
          Selbin Decl., Ex. 2 at USF_0115359; id., Ex. 7 (Cross Dep. Tr.) at 214:9-11.
      150
28        Nakamura Opp’n at 23.
      151
          See ECF No. 250.
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 1    brought under Rule 23(c)(4), every class member will ultimately be in complete control over their

 2    individual trial—and that will include the decision not to have one at all.

 3                Giarratano argues that an issues class is not superior because Plaintiffs are “vague as to

 4    whether [they intend] to later certify a damages class.” See Giarratano Opp’n at 23 (quoting

 5    Rahman v. Mott’s LLP, 693 F. App’x 578, 580 (9th Cir. 2017)). Unquestionably, Plaintiffs are not

 6    vague on this point: they do not seek to certify a damages class.152 This likewise dooms

 7    Giarratano’s puzzling argument that certification is not superior because “plaintiffs ‘fail to show

 8    any model for calculating damages that [] can be applied classwide.’” Id. (quotation unattributed).

 9                Finally, Defendants’ conduct continues to demonstrate that individual trials on common

10    issues would not only be unmanageable, but unfair. As it did with Plaintiffs’ motion for class

11    certification, USF again made a large document production—its first custodial production since

12    November 15, 2024—only days before this brief was due. Giarratano pulled the same trick, making

13    his first ESI production in the case only three days ago.153 And as the Court knows, this comes after

14    it took many months and several Court orders to get Defendants to produce highly relevant (or in

15    Giarratano’s case any) documents. The best way to manage this conduct and expeditiously get these

16    cases to trial is to certify the common issues for common liability determinations.

17    IV.         CONCLUSION
18                Plaintiffs respectfully request that the issues detailed in their motion be certified pursuant

19    to Rule 23(c)(4).

20    Dated: February 6, 2024                 Respectfully submitted,
21
                                              By:/s/ Jonathan D. Selbin
22                                               JONATHAN D. SELBIN (Cal. Bar No. 170222)
                                                 jdselbin@lchb.com
23                                               MICHELLE LAMY (Cal. Bar No. 308174)
                                                 mlamy@lchb.com
24                                               LIEFF CABRASER HEIMANN &
                                                 BERNSTEIN
25                                               275 Battery Street, 29th Floor
                                                 San Francisco, CA 94111-3339
26                                               Telephone: (415) 956-1000
                                                 Facsimile: (415) 956-1008
27
      152
28          See Mot. at 2, 24-25.
      153
            MvK Decl. ¶¶ 6-7, 9, 13.
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 1                                   JESSICA A. MOLDOVAN
                                     (admitted pro hac vice)
 2                                   jmoldovan@lchb.com
                                     LIEFF CABRASER HEIMANN &
 3                                   BERNSTEIN
                                     250 Hudson Street, 8th Floor
 4                                   New York, NY 10013
                                     Telephone: (212) 355-9500
 5                                   Facsimile: (212) 355-9592

 6                                   ELIZABETH A. FEGAN (Cal. Bar No. 355906)
                                     beth@feganscott.com
 7                                   FEGAN SCOTT LLC
                                     150 S. Wacker Dr., 24th Floor
 8                                   Chicago, IL 60606
                                     Telephone: (312) 741-1019
 9                                   Facsimile: (312) 264-0100

10                                   LYNN A. ELLENBERGER
                                     (admitted pro hac vice)
11                                   lynn@feganscott.com
                                     FEGAN SCOTT LLC
12                                   500 Grant St., Suite 2900
                                     Pittsburgh, PA 15219
13                                   Telephone: (412) 346-4104
                                     Facsimile: (312) 264-0100
14
                                     MICHAEL VON KLEMPERER
15                                   (admitted pro hac vice)
                                     mike@feganscott.com
16                                   FEGAN SCOTT LLC
                                     1763 Columbia Road NW, Suite 100
17                                   Washington, DC 20009
                                     Telephone: (202) 921-0002
18                                   Facsimile: (312) 264-0100

19                                   Attorneys for Plaintiffs and the Proposed Class

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